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                       EXHIBIT 3
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                  ATTACHMENT A - SEAFOOD DISTRIBUTION CHAIN DEFINITIONS

Seafood shall be defined as fish and shellfish, including shrimp, oysters, crab, and finfish, caught in the
Specified Waters of the Gulf of Mexico. Seafood shall exclude menhaden.

This document shall establish Seafood distribution chain definitions, as set forth below:

1. Commercial Fishermen, Seafood Crew, Oyster Leaseholders and Seafood Vessel Owners

    Economic loss claims by Commercial Fishermen, Seafood Crew, Oyster Leaseholders and
    Seafood Vessel Owners shall be governed by the Seafood Program.

    Definitions for Commercial Fisherman, Seafood Crew, Oyster Leaseholder and Seafood Vessel
    Owner are set forth below:

        a. Commercial Fisherman shall be defined as a Natural Person or entity that holds a
           commercial fishing license issued by the United States and/or the State(s) of Alabama,
           Florida, Louisiana, Mississippi and/or Texas and derives income from catching and selling
           Seafood that he caught. The following additional definitions are relevant with regard to the
           Commercial Fisherman definition:

             i. Shrimp Fisherman shall be defined as a Commercial Fisherman that catches shrimp.

             ii. Oyster Harvester shall be defined as a Commercial Fisherman that harvests oysters.

            iii. Crab Fisherman shall be defined as a Commercial Fisherman that catches crab.

            iv. Finfish Fisherman shall be defined as a Commercial Fisherman that catches finfish.

        b. Seafood Crew shall be defined as the Seafood Boat Captain, Seafood First Mate,
           Seafood Second Mate, Seafood Boatswain, Seafood Deckhand, working for a
           Commercial Fisherman.

             i. Seafood Boat Captain shall be defined as a Natural Person who owns or operates a
                Commercial Fishing vessel. In addition, the Seafood Boat Captain may plan and
                oversee the fishing operation, the fish to be sought, the location of the best fishing
                grounds, the method of capture, the duration of the trip, and the sale of the catch. A
                person with the job of skipper will be considered to satisfy this definition.

             ii. Seafood First Mate shall be defined as a Natural Person who assists a Seafood Boat
                 Captain and assumes control of the Commercial Fishing vessel when the Seafood
                 Boat Captain is off duty, and who assists in directing the fishing operations and sailing
                 responsibilities of the Seafood Deckhands, including the operation, maintenance, and
                 repair of the vessel and the gathering, preservation, stowing, and unloading of the catch.

            iii. Seafood Second Mate shall be defined as a Natural Person who assists in performing
                 the duties of a Seafood First Mate.




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           iv. Seafood Boatswain shall be defined as a Natural Person who is a highly skilled
               Seafood Deckhand with supervisory responsibilities on a Commercial Fishing vessel,
               and who directs the Seafood Deckhands as they carry out sailing and fishing
               operations.

           v. Seafood Deckhand shall be defined as a Natural Person who provides services on
              marine vessels (not personally owned or leased) to any type of Commercial Fisherman,
              including, but not limited to, the following:

                   1.   Operating fishing gear;
                   2.   Letting out and pulling in nets and lines;
                   3.   Extracting the catch;
                   4.   Washing, salting, icing and stowing the catch;
                   5.   Ensuring the decks are clear and clean at all times;
                   6.   Loading equipment and supplies prior to departure; and/or
                   7.   Unloading the catch.

      c.   An Oyster Leaseholder shall be defined as a Natural Person or entity that is a lessee
           holding one or more private oyster leases.

      d. Seafood Vessel Owner shall be defined as a Natural Person or entity that owns a vessel
         and earns income from leasing or renting that vessel to a Commercial Fisherman and/or
         Oyster Leaseholder. A Seafood Vessel Owner may also be a Commercial Fisherman
         and/or an Oyster Leaseholder.

2. Primary Seafood Industry

   The Primary Seafood Industry shall be comprised of entities and Natural Persons that satisfy the
   definitions of Landing Site, Commercial Wholesale or Retail Dealer A, and Primary Seafood
   Processor, and Natural Persons employed by a Landing Site, Commercial Wholesale or Retail
   Dealer A, or Primary Seafood Processor, including Seafood Dockside Workers.

   Economic loss claims by entities and Natural Persons claiming losses related to business income
   required to be reported on Internal Revenue Service Form 1040 Schedules C, E or F, and that satisfy
   the Primary Seafood Industry definition above shall be compensated pursuant to the
   Compensation Framework for Business Economic Loss Claims.

   Economic loss claims by Individuals satisfying the Primary Seafood Industry definition above shall
   be compensated pursuant to the Framework for Individual Economic Loss Claims.

   Definitions of Landing Site, Commercial Wholesale or Retail Dealer A, Primary Seafood
   Processor, and Seafood Dockside Worker are set forth below:

      a. Landing Site shall be defined as a business at which boats first land their catch, including
         facilities for unloading and handling Seafood. A landing site may also include the provision
         of ice, fresh water fuel and boat repair or service in connection with the landing of Seafood.
         The following additional definition is relevant with regard to Landing Site:

            i. Seafood Dockside Worker shall be a Natural Person performing services for a Landing



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               Site.

      b. Commercial Wholesale or Retail Dealer A shall be defined as an entity or Natural Person
         that holds a commercial wholesale or retail dealer license issued by the State(s) of Alabama,
         Florida, Louisiana, Mississippi and/or Texas for which 75% or more of the 2009 cost or weight
         in pounds of the product it purchases constitutes Seafood purchased directly from
         Commercial Fisherman or Landing Site and re-sells to Primary Seafood Processors,
         Seafood Distributors, Seafood Wholesalers and Seafood Retailers.

      c.   Primary Seafood Processor shall be defined as an entity or Natural Person that receives
           and prepares Seafood purchased from a Commercial Fisherman, Landing Site, or
           Commercial Wholesale or Retail Dealer including, but not limited to, cleaning, cooking,
           canning, smoking, salting, drying or freezing, grading by size, packing storing Seafood for
           shipment.

3. Secondary Seafood Industry

   The Secondary Seafood Industry shall be comprised of entities that satisfy the definitions of
   Commercial Wholesale or Retail Dealer B, Secondary Seafood Processor, Seafood Wholesaler
   or Distributor, and Seafood Retailer, and Natural Persons employed by a Commercial Wholesale
   or Retail Dealer B, Secondary Seafood Processor, Seafood Wholesaler or Distributor, or
   Seafood Retailer.

   Economic loss claims by entities and Natural Persons claiming losses related to business income
   required to be reported on Internal Revenue Service Form 1040 Schedules C, E or F, and that satisfy
   the Secondary Seafood Industry definition above shall be compensated pursuant to the
   Compensation Framework for Business Economic Loss Claims.

   Economic loss claims by Individuals satisfying the Secondary Seafood Industry definition above
   shall be compensated pursuant to the Framework for Individual Economic Loss Claims.

   Definitions of Commercial Wholesale or Retail Dealer B, Secondary Seafood Processor,
   Seafood Wholesaler or Distributor, and Seafood Retailer are set forth below:

      a. Commercial Wholesale or Retail Dealer B shall be defined as an entity or Natural Person
         that holds a commercial wholesale or retail dealer license issued by the State(s) of Alabama,
         Florida, Louisiana, Mississippi and/or Texas for which less than 75% of the cost or weight in
         pounds of the product it purchases constitutes Seafood purchased directly from a
         Commercial Fisherman or Landing Site, and re-sells to Primary Seafood Processors,
         Seafood Distributors, Seafood Wholesalers and Seafood Retailers.

      b. Secondary Seafood Processor shall be defined as an entity or Natural Person that
         purchases Seafood from a Primary Seafood Processor in order to add further value
         including, but not limited to, cleaning, cooking, canning, smoking, salting, drying or freezing,
         grading by size packing and storing Seafood for shipment.

      c.   Seafood Wholesaler or Distributor shall be defined as an entity or Natural Person that
           purchases Seafood in bulk quantities and sells to retailers such as restaurants, fish shop and
           supermarkets.



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  d. Seafood Retailer shall be defined as an entity that is an end user of Seafood such as a
     restaurant, fish market or super market for which 25% or more of total food costs for 2009
     constitute Seafood.




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